Case 4:23-cr-00264-GKF Document 5 Filed in USDC ND/OK on 08/24/23 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
Plaintiff(s),

VS. Case No.:4:23-CR-264-GKF
Daniel Lawrence Charba Criminal Information Sheet

Defendant(s).
Date: 8/24/2023 Interpreter: Yes ( No &
Magistrate Judge Little Deputy Lauren Lewis USPO E. Cervini

Date of Arrest: 8/24/2023 Arrested By: USMS (1 Detention Requested by AUSA

Bail Recommendation: $ 10,000.00 Unsecured

Additional Conditions of Release:

Hla. Ob. Om OnOo Op &q &rUs
He kid. Oe Of Og. Or (01, 02, 03, 04, 05, 06,07)

Oh @i. ij. Ou (01, 02, 03, 04, 05, 06 O07)

Ok. (Oi, Dii, 0 iii) Ov (01, 02, 03, 04, 05,06,07, 08, 09, 0 10)
Ol. Llw (C1, 02) O x. (other)

Defendant Requests Federal Public Defender/Ct. Appt. Counsel: [ Yes No
Defendant's Attorney: Allen Smallwood  (C FPD; Ci ct. Appt; E&I Ret Counsel

AUSA: _ Nathan Michel | dam Bade dae
/

MINUTES:

Interpreter: ; 0 Sworn

Defendant appears in person for IA on: indictment: 7 Information; [ Complaint; © Petition; O Rule 5
with: Ret Counsel; OOFPD; (Ct. Appt; O w/o Counsel

CO Financial Affidavit received and FPD/CJA appointed; 1 Present 1 Not Present
Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:
Verified in open court
C1 Corrected by interlineation to
to reflect Defendant’s true and correct name and all previous filings are amended by interlineation to reflect same.

CJ) Unable to verify in open court: 1 U.S. Atty. to verify & advise court; [J Defendant’s Attorney to verify & advise
court;

Waivers executed and filed: © of Indictment; 0) of Preliminary Exam; 0 of Detention Hearing; 1 of Rule 5 Hearings
[A Bond set for P| 0 i dD Unsecured ; Bond and conditions of release executed
CJ Government’s Motion for Detention and Detention Hearing filed in open court

Q)Arraignment held and Defendant pleads Not Guilty; Court accepts plea; (Scheduling dates to be mailed to counsel

C1 Initial Appearance continued to: at a.m./p.m.
OC Arraignment scheduled: at a.m./p.m.

CJ Detention Hearing scheduled: at a.m./p.m.

CO Preliminary Exam scheduled: at a.m./p.m.

CJ Defendant remanded to custody of U.S. Marshal: ([ Pending further proceeding; 1 Pending release on bond for treatment
Mot. for Detention # _: © Granted; 1 Denied; O Moot Mot. for Hearing #__: O Granted; O Denied; O Moot

Additional Minutes:

Criminal Information Sheet CR-24 (11/2020)
